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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA,

v.                                            Case No. 6:06-cr-22-Orl-22DAB

JASON E. MADOW,

      Defendant,

      and

HOMEOWNERS ADVANTAGE,

      Garnishee.

                      UNITED STATES’ MOTION TO
                   TERMINATE WRIT OF GARNISHMENT

      The United States respectfully requests, pursuant to 28 U.S.C. § 3205 (c)(10),

that this Court terminate the Writ of Garnishment directed to Homeowners

Advantage (Doc. 126), and in support thereof, states as follows:

      1.     On January 6, 2022, this Court entered an Order authorizing a Writ of

Garnishment to Homeowners Advantage, for the purpose of garnishing Madow’s

wages to pay his outstanding restitution. Doc. 125. The Clerk issued the writ directed

to the Garnishee on January 7, 2022. Doc. 126.

      2.     The Garnishee answered the writ, and based on the Garnishee’s

Answer, Madow is no longer employed by Homeowners Advantage. Doc. 133.
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      Accordingly, because Madow is no longer employed by Homeowners

Advantage, the Garnishee has no property in its possession now or in the future, and

the writ or wage garnishment directed to Homeowners Advantage should be

terminated.

                                       Respectfully submitted,

                                       ROGER B. HANDBERG
                                       United States Attorney

                                By:    s/ Julie A. Simonsen
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                           CERTIFICATE OF SERVICE

      I certify that on January 26, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, and I mailed the foregoing

document and notice of electronic filing by certified mail to the following non-

CM/ECF participants:

          Jason E. Madow
          Alpharetta, GA 30022

          HomeOwners Advantage
          Attn: Legal Department
          817 W. Peachtree Street NW, Suite 310
          Atlanta, GA 30308

          JP Morgan Chase Bank, N.A.
          Attn: Ronald Wilcox
          270 Park Ave., 39th Floor
          New York, New York 10017


                                        s/ Julie A. Simonsen
                                        Assistant United States Attorney
